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                              Exhibit Page 1 of 3




                         EXHIBIT A
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From:                             Esterkin, Richard W. <richard.esterkin@morganlewis.com>
Sent:                             Monday, December 16, 2019 4:01 PM
To:                               amcdow@foley.com; JSimon@foley.com; BNelson@foley.com; Eric Winston; Jennifer
                                  Nassiri; Frank Dylewski; Crystal Nix-Hines; 'David L. Neale'; John-Patrick M. Fritz
Subject:                          Scoobeez Discovery
Attachments:                      Protective Order.pdf; Stipulation to Protective Order.pdf


                                                    [EXTERNAL EMAIL]


Amazon would propose the following schedule for the completion of the outstanding discovery and the hearing on the
matters now set for Jan. 16:

    1. I need everyone’s signature on the stipulation to a protective order and am attaching another copy of that
       stipulation. Please sign the stipulation and return your signature page at your earliest convenience. We cannot
       begin to produce documents or take depositions until the protective order is entered.
    2. Amazon will serve its responses to the requests for production served upon it by Hillair and Scoobeez on
       December 17.
    3. Hillair and Scoobeez will serve their response to the requests for production served upon them by Amazon on
       December 18.
    4. Amazon will produce documents on or before December 20. I will need the name and contact information of
       the person at your firm who will be coordinating the transfer of documents from Amazon to your firms.
    5. Hillair and Scoobeez will produce documents to Amazon on or before December 24. I will provide the name and
       contact information of our contact person for the transmittal of documents being produced in a subsequent e-
       mail.
    6. Amazon will make its witnesses available for deposition the week of Jan. 6 (please note that I have requested
       that each of Hillair and Scoobeez defer taking Vanessa Delaney’s deposition as her testimony was only offered to
       authentic the Amazon/Scoobeez contract, a fact that does not appear to be at issue).
    7. Scoobeez and Hillair will make their witnesses available the week of Jan. 13.
    8. To the extent that a party wishes to designate an individual who is already scheduled to be deposed to testify on
       its behalf pursuant to Rule 30(b)(6), the witness will be deposed only once, in the witness’s dual capacity. To the
       extent that Hillair and Scoobeez have both noticed a deposition of the same Amazon witness, the witness will be
       deposed only once by both Hillair and Scoobeez.
    9. The hearings now scheduled for Jan. 16 will be continued to the first week of Feb., with any supplemental
       papers that anyone wishes to file due one week prior to the continued hearing date.

Please let me know if you have any objection to proceeding as outlined above and, if so, propose an alternative
discovery and hearing schedule.

Thank you

Richard W. Esterkin
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